Case 1:17-cv-O4472-.]I\/|S-DLP Document 4 Filed 12/01/17 Page~l of 4 Page|D #: 57

 

Michael Richardson
Reg. No. 41001-013
U.S. Penitentiary Tucson ,;{;U;__“,y
P.O. Box 24550 SL

 

      

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Tucson, AZ 85734 »/§

Pro Se 1 rlv'cv' 4 47 2 §

lN THE UNlTED STATES DISTRICT CGURT
FOR THE SOUTHERN DISTRICT OF INDIANA

 

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UNITED sTATES oF AMERICA, ) No. 1 15-cr-00161-JMS
Plaintiff, ) (criminal file)
)
v. ) No;
) (§2255 civil file)
Mché§§f§§g:§§?SoN’ § MOTION FoR COPY oF CASE
§ FILE AND TRANSCRIPTS

 

DEFENDANT MICHAEL RICHARDSON RESPECTFULLY REQUESTS that the
Court provide him with the below-listed documents and transcripts
relating to his criminal matter. As discussed further below,
these items are needed in conjunction with Defendant's motion
for relief under 28 U.S.C. §2255.

Should the Court grant this motion for copies, Defendant
further requests that the documents be sent to him at the address
at the top of this page in envelopes prominently marked "LEGAL
MAIL - OPEN ONLY IN PRESENCE OF INMATE." Due to local prison
operating procedures, omission of this exact text from the face
of the envelope will result in substantial delivery delays and

possible nondelivery.

Request for Pre-Existing Case Documents

 

Defendant requests copies of the following docket items,
including all attached exhibits or other addenda: 1, 4, 6, 8,

14-26, 31, 34-35, 38-43, 45-47, 50, 52-53, 58, and 61-64.

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Case l:l7-cv-O4472-.]I\/|S-DLP Document 4 Filed 12/01/17 Page 2 of 4 Page|D #: 58

Defendant also requests a copy of his pre-sentencing report and
any attachments, if available in the Court’s files.

The Seventh Circuit has stated that unrepresented indigent
inmates "have an absolute personal right to reasonable access
to the pre-existing files and records of their underlying case."
Rush v. United States, 559 F.Zd 455, 458 (7th Cir. 1977). Therefore,
"requests for the pre-existing record in the underlying criminal
proceeding should be granted as of right by the district courts
to prisoners seeking to use the record to prepare a collateral
attack on their conviction." ld; at 459-60. Although never
approved by the Court of Appeals and at least somewhat in tension
with §E§h, some district courts within the Seventh Circuit have
required a pro se inmate to (1) "exhaust his private sources
of access to transcripts and records of the proceedings through
and from his trial and appellate counsel," (2) "set forth his
efforts to exhaust his personal sources, and the results thereof,"
and (3) "make some showing as to the purpose for which the" case
records are Sought before receiving copies of the records from
the court. See United States ex rel. Davidson v. Wilkinson,

618 F.Zd 1215, 1&18 n.3 (7th Cir. 1980).

Accordingly, Defendant respectfully submits that he has
exhausted his private sources of access to records in his case.
Beginning in January of 2017, Mr. Richardson repeatedly sent
letters to his former appointed attorney requesting copies of
his case file. §§§ Exhibit A at UUA-S (declaration detailing
Defendant's attempts to obtain his records). His attorney has

sent him only a copy of the court docket index in reply. ld.

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Case 1:17-cv-O4472-.]I\/|S-DLP Document 4 Filed 12/01/17 Page 3 of 4 Page|D #: 59

Defendant needs the requested records as evidence he believes

will entitle him to relief under 28 U.S.C. §2255. For further_
information on the particular grounds for relief, please see
Defendant's concurrently filed §2255 motion and supporting declar-

ation.

Request For Transcripts

Defendant respectfully requests transcripts of the following
proceedings: 9/11/2015 Initial Appearance on lnformation (referenced
in docket entry 38); 6/9/2016 Plea Agreement Hearing (referenced
in docket entry 50); and 10/28/2016 Sentencing Hearing (referenced
in docket entry 63).

A pro se indigent inmate has a right to receive transcripts
of his criminal proceeding at no expense to the inmate "if the trial
judge or a circuft judge certifies that the suit or appeals [sic]
is not frivolousiand the transcript is needed to decide the issue
presented by the suit or appeal." 28 U.S.C. §753(f). The Defendant
respectfully requests such certification. He submits that the \
§2255 motion submitted concurrently with the instant motion has an
arguable basis in fact and law-as set forth in that motion and
its supporting ddcumentation-and is not frivolous. Q£; Neitzke

v. Williams, 490 U.S. 319, 325 (1989) (under the 28 U.S.C. §1915

screening mechanism for in forma pauperis claims, a complaint is

 

"frivolous where it lacks an arguable basis either in fact or
in law").
Transcripts of all hearings are required as evidence of
how rights and procedures were explained to the Defendant, whether

any waiver of certain rights was knowing and voluntary, whether

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Case 1:17-cv-O4472-.]I\/|S-DLP Document 4 Filed 12/01/17 Page 4 of 4 Page|D #: 60

there was any indication at the hearings that Defendant might
suffer from a psychiatric impairment affecting his competency

or criminal responsibility and whether Defendant's appointed
attorney performed effectively within constitutional requirements.
se_e Exhibit A at n1I7-9.

Defendant submits that all requested documents and transcripts
are material tO hiS §2255 motion and that his pursuit of relief
will be prejudiced without them. Accordingly, this motion should
be granted.

Respectfully submitted this<£Oih`day of November, 2017.

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Michael Rfchardson
Pro Se

 

